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                                        EXHIBIT 1-K
                              RESUME OF ANDREW M. NUSSBAUM


                          ANDREW MARTIN NUSSBAUM
               2 N. Cascade Ave., Suite 1430 | Colo. Spgs., CO | 80903 | 719-428-2386 |
                                    andrew@nussbaumgleason.com
EDUCATION
Tulane University Law School | New Orleans, Louisiana
Juris Doctor, summa cum laude, May 2016
Honors:     First in class of 196; Order of the Coif; awarded Faculty Medal for highest academic
            achievement in full course of study, Dean’s Medal for highest academic achievement in third-
            year courses, and Federal Bar Association Award for greatest distinction in study of federal
            law; recipient of Joseph Modeste Sweeney Scholarship
Activities: Tulane University Law Review, Notes and Comments Editor
            Fellow, Legal Research and Writing (assisted instruction of 1L writing seminar)
            Instructor, Tax Jazz (taught tax course to local high school students)
Saint Olaf College | Northfield, Minnesota
Bachelor of Arts in History, May 2010
Honors:      Member of Blue Key Honor Society and Leadership in Community and Church Scholar
Activities: Captain of Cross Country and Track and Field Teams
             President and Founder of the Wendell Berry House
             Graduate of the Great Conversation (a special course of study in the western canon)

CLERKSHIPS
Law Clerk | The Honorable Daniel D. Domenico, U.S. District Court for the District of Colorado
Denver, Colorado, January 2020–Present
Law Clerk | The Honorable William H. Pryor Jr., U.S. Court of Appeals for the Eleventh Circuit
Birmingham, Alabama, August 2016–August 2017

EXPERIENCE
Partner | Nussbaum Gleason PLLC
Colorado Springs, Colorado, September 2021—Present
 Represented religious institutions, public figures, non-profits, and businesses in all stages of litigation,
    including summary proceedings, administrative hearings, trial, and appeal
 Example litigations and appeals
        o Catholic Benefits Association et al. v. Becerra (injunction against Obama-era regulation under
            Section 1557 of the Affordable Care Act affirmed by United States Court of Appeals for the
            Eighth Circuit)
        o Carson v. Makin (drafted amicus brief on behalf of Professor Michael McConnell regarding
            original public meaning of Free Exercise Clause)
        o 303 Creative v. Elenis (drafted amicus brief in support of certiorari regarding official hostility
            toward free speech)
        o Andrew Wommack Ministries v. City of Woodland Park, Colorado (successfully defended tax-
            exempt status of large religious college)
        o Christian Growth Center v. Pueblo (successfully defended RV Hospitality Ministry of
            evangelical church in RLUIPA dispute)
        o Pikes Peak Energy LLC v. Joseph Saliba (won preliminary injunction in trade secrets case)


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        o   Resound Church v. Harvest Worship Center (received favorable report and recommendation in
            church split case on First Amendment grounds)

EXPERIENCE CONTINUED
Litigation Associate | Hogan Lovells US LLP
Denver, Colorado, September 2017—January 2020
 Handled complex litigations from pleadings to trial; drafted, argued, and won numerous dispositive
    motions; defended and took expert and non-expert depositions
 Example litigation: Shada v. City of Manitou Springs (drafted and won motion for summary judgment
    on constitutional issue involving the Manitou and Pikes Peak Cog Railway)
Extern | The Honorable Sarah Vance, U.S. District Court for the Eastern District of Louisiana
New Orleans, Louisiana, 2015–2016
Research Assistant | Professor Stephen Griffin, Tulane University Law School
New Orleans, Louisiana, 2015–2016
 Researched questions of federalism, war powers, and constitutional interpretation
Research Assistant | Professor Marjorie Kornhauser, Tulane University Law School
New Orleans, Louisiana, 2015–2016
 Researched questions of tax and tax history
Summer Associate | Hogan Lovells US LLP
Denver, Colorado, Summer 2015
Summer Associate | Stinson Leonard Street LLP
Minneapolis, Minnesota, Summer 2014
Summer Intern | Office of the Solicitor General of Colorado
Denver, Colorado, Summer 2014
 Example litigation: Gessler v. Grossman (drafted brief defending Secretary of State Scott Gessler in
   ethics case)
Faculty Member | Trinity School at River Ridge
Saint Paul, Minnesota, 2010–2013
 Taught courses on ancient Greek philosophy and early Christian theology; Old Testament; and
    Medieval history
 Coached cross country and track and field teams

PUBLICATIONS
And the Answer Is?: The Department of Education’s Most Recent Equivocation On the Legality of Single-Sex
Education, 20 Holy Cross Journal of Law & Public Policy 39 (2016)

MEMBERSHIPS
Bar of the State of Colorado, 2016–present
National Diocesan Attorneys Association, 2021-present
INTERESTS
The early films of Terrence Malick; restoring vintage bicycles; small-stream trout fishing in the
Greenhorn Valley of Colorado; Minnesota Intercollegiate Athletic Association men’s cross country; high-
route backpacking; the New Orleans Saints

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